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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                   CR 12-82-GF-BMM-04

                 Plaintiff,
                                             FINDINGS AND
       vs.                                   RECOMMENDATIONS TO
                                             REVOKE DEFENDANT’S
 BILLIE JOE BULLSHIELDS,                     SUPERVISED RELEASE

                 Defendant.


                                   I. Synopsis

      The United States accused Ms. Bullshields of violating her conditions of

supervised release by failing to report to the probation office within seventy-two

hours of her release from custody. She admitted to the violation. Ms.

Bullshields’s supervised release should be revoked. She should be sentenced to

ten months of custody, with no supervised release to follow.

                                    II. Status

      In February 2013, Ms. Bullshields pleaded guilty to Distribution of

Methamphetamine. (Doc. 104.) United States District Court Judge Dana L.

Christensen sentenced Ms. Bullshields to 48 months in custody and 48 months of

supervised release. (Doc. 146.) Ms. Bullshields’s first term of supervised release


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began on July 23, 2015. (Doc. 199.)

      In September 2015, Ms. Bullshields’s supervised release was revoked

because she violated her conditions of release by using alcohol, using a controlled

substance, and failing to notify her probation officer of a change in employment.

She was sentenced to six months of custody and 24 months of supervised release.

(Doc. 208.) Ms. Bullshields’s second term of supervised release began on

February 12, 2016. (Doc. 212.)

      On April 18, 2016, The Court revoked Ms. Bullshields’ supervised release

because she failed to notify her probation officer of a change in her residence,

failed to participate in mental health treatment, failed to participate in substance

abuse testing, and used a controlled substance. (Doc. 223.) United States District

Judge Brian Morris sentenced her to five months in custody, followed by twenty-

four months of supervised release. (Id.) Her current term of supervised release

began on July 22, 2016.

      On July 26, 2016, Ms. Bullshields provided the United States Probation

Office (USPO) with a urine sample that tested positive for alcohol. The USPO

referred her to substance abuse treatment to address past and current substance

abuse issues. On September 6, 2016, Ms. Bullshields provided a urine sample that

tested positive for Subutex. The USPO referred her phase testing at the Great Falls

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Transition Center. On September 13, 2016, Ms. Bullshields reported to the USPO

that she had been kicked out of the Great falls Rescue Mission for failing to report.

Ms. Bullshields stated that he had a mental breakdown the evening before and had

used alcohol and methamphetamine. The USPO filed a Report of Offender Under

Supervision outlining these violations. (Doc. 226.) Judge Morris allowed her to

continue supervision. (Id.)

      On December 8, 2016, Judge Morris again revoked Ms. Bullshields’s

supervised release because she arrested after causing a disturbance while highly

intoxicated. (Doc 239.) Judge Morris sentenced her to four months in custody,

with twenty months of supervised release to follow. (Id.) She began her current

term of supervised release on January 19, 2017.

      Petition

      On January 30, 2017, the USPO filed a petition asking the Court to revoke

Ms. Bullshields’s supervised release. (Doc. 248.) The USPO accused Ms.

Bullshields of violating her conditions of supervised release by failing to report to

the probation office within seventy-two hours of her release from custody. (Id.)

Based on the petition, Judge Morris issued a warrant for her arrest. (Doc. 249.)

      Initial appearance

      On February 16, 2017, Ms. Bullshields appeared before the undersigned in

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Great Falls, Montana, for an initial appearance. Federal Defender Evangelo

Arvanetes accompanied her at the initial appearance. Assistant United States

Attorney Jeffery Starnes represented the United States.

      Ms. Bullshields said she had read the petition and understood the

allegations. Ms. Bullshields waived the preliminary hearing, and the parties

consented to proceed with the revocation hearing before the undersigned.

      Revocation hearing

      Ms. Bullshields admitted that she violated the conditions of her supervised

release. The violations are serious and warrant revocation of Ms. Bullshields’s

supervised release.

      Ms. Bullshields’s violation grade is Grade C, her criminal history category

is I, and her underlying offense is a Class B felony. She could be incarcerated for

up to thirty-six months. She could be ordered to remain on supervised release for

forty-eight months, less any custody time imposed. The United States Sentencing

Guidelines call for four to ten months in custody.

      Mr. Arvanetes recommended a sentence at the high end of the guideline

range. Mr. Starnes recommended a sentence at the high end of the guideline range

with no supervised release to follow. Ms. Bullshields addressed the Court and

stated that she fell in with the wrong crowd again.

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                                    III. Analysis

      Ms. Bullshields’s supervised release should be revoked because she

admitted violating its conditions. Ms. Bullshields should be sentenced to ten

months in custody, with no supervised release to follow. This sentence would be

sufficient given the serious violation of the Court’s trust, but it would not be

greater than necessary.

                                  IV. Conclusion

      Ms. Bullshields was advised that the above sentence would be

recommended to Judge Morris. The Court reminded her of her right to object to

these Findings and Recommendations within 14 days of their issuance. The

undersigned explained that Judge Morris would consider Ms. Bullshields’s

objection, if it is filed within the allotted time, before making a final determination

on whether to revoke Ms. Bullshields’s supervised release and what, if any,

sanction to impose.



The undersigned FINDS:

             Billie Joe Bullshields violated her conditions of supervised release by
             failing to report to the probation office within seventy-two hours of
             her release from custody.



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The Court RECOMMENDS:

             The District Court should enter the attached Judgment,
             revoking Billie Joe Bullshields’s supervised release and
             sentencing her to ten months in custody, with no
             supervised release to follow.



        NOTICE OF RIGHT TO OBJECT TO FINDINGS AND
    RECOMMENDATIONS AND CONSEQUENCES OF FAILURE TO
                         OBJECT

      The parties may serve and file written objections to the Findings and

Recommendations within 14 days of their entry, as indicated on the Notice of

Electronic Filing. 28 U.S.C. § 636(b)(1). A district judge will make a de novo

determination regarding any portion of the Findings and Recommendations to

which objection is made. The district judge may accept, reject, or modify, in

whole or in part, the Findings and Recommendations. Failure to timely file

written objections may bar a de novo determination by the district judge, and may

waive the right to appear and allocute before a district judge.

      Dated the 22nd day of February 2017




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